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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

 MI FAMILIA VOTA, TEXAS STATE
 CONFERENCE OF THE NATIONAL
 ASSOCIATION FOR THE
 ADVANCEMENT OF COLORED
 PEOPLE, MICAELA RODRIGUEZ AND
 GUADALUPE TORRES,
            Plaintiffs,                                      Civil Action No. 5:20-cv-00830

 v.

 GREG ABBOTT, GOVERNOR OF TEXAS;
 AND RUTH HUGHS, TEXAS SECRETARY
 OF STATE,
           Defendants.



                            DEFENDANTS’ NOTICE OF APPEAL

       Pursuant to Federal Rules of Appellate Procedure 3(a)(1) and 4(a)(1)(A), Defendants Greg

Abbott, in his official capacity as Governor of Texas, and Ruth Hughs, in her official capacity as the

Texas Secretary of State, give this notice of appeal to the United States Court of Appeals for the Fifth

Circuit from the Order entered in this action on October 27, 2020. [ECF No. 75].




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Date: October 27, 2020                               Respectfully submitted.

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                                    CERTIFICATE OF SERVICE

     I certify that a true and accurate copy of the foregoing document was filed electronically (via
CM/ECF) on October 27, 2020, and that all counsel of record were served by CM/ECF.

                                                      /s/ Patrick K. Sweeten
                                                      PATRICK K. SWEETEN

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